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UNITED STATES DISTRICT COURT

DISTRICT OF MINNESOTA
Myriam Parada, Case No. 18-cv-795 (JRT/ TNL)
Plaintiff,
v.
Anoka County, et al.,
Defendants.

DECLARATION OF ROBERT BENNETT
IN SUPPORT OF PLAINTIFF’S MOTION FOR ATTORNEY FEES

I, Robert Bennett, state and depose as follows:

1. I am a member of the bar of this Court and a partner at Robins
Kaplan LLP (“Robins Kaplan”). I submit this Declaration in support of Plaintiff
Myriam Parada’s Motion for Attorney’s Fees in the above-referenced matter.

2. I received my undergraduate education at the University of Notre
Dame, where I graduated with honors in English in 1973. I graduated from the
University of Minnesota Law School with a J.D. in 1976 and have been an
attorney in private practice ever since. My biographical information is attached

hereto as Exhibit 1.
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3. I have been admitted to practice before the following bars and courts
and, from the date of admission forward, have remained a member in good
standing:

e 1976: Bar of the State of Minnesota; U.S. District Court, District of

Minnesota

° 1982: U.S. Court of Appeals, Eighth Circuit

° 1998: U.S. Court of Appeals, Federal Circuit

& 2000: U.S. Court of Appeals, Seventh Circuit; U.S. District Court,

Eastern District of Wisconsin

® 2001: U.S. Supreme Court

° 2005: U.S. Court of Appeals, Eleventh Circuit

4. Tam a Fellow of the American College of Trial Lawyers.

5. Iam a member of the Hennepin County, Minnesota State and
American Bar Associations, the American Association for Justice, and the
Minnesota Association for Justice.

6. I received certification from the Minnesota State Bar Association as a
Civil Trial Specialist in 1988. In 1989, I received a certification in civil trial
advocacy from the National Board of Trial Advocacy. I remain certified with
both organizations.

7. In October 2008, I was recognized as an Associate in the American

Board of Trial Advocates and have remained in good standing with that

organization since my admission.
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8. [have lectured at various venues, including the University of
California-Irvine School of Law, the National Institute of Trial Advocacy, the
Walter P. George School of Law at Mercer University, and the Public Agency
Training Council defending law-enforcement litigation (a national seminar held
in Las Vegas in 2009). I presented on civil-rights issues at a Minnesota Federal
Bar Association seminar and I am a frequent lecturer at the University of
Minnesota School of Law on various civil-rights topics.

9, My practice consists almost exclusively of trial work, including civil
litigation, personal injury, and civil-rights law. Over the past 30-plus years, my
practice has been at least 75% contingent-fee work, in general, with an active
practice in civil-rights litigation.

10. have actively been involved in attorney-fee litigation in connection
with civil-rights matters in the District of Minnesota for at least 35 years and Iam
very familiar with hourly rates of attorneys practicing in this area.

11. The civil-rights lawyers at Robins Kaplan, formerly at Gaskins
Bennett Birrell Schupp LLP and later Gaskins Bennett Birrell LLP (“GB”),
obtained a Section 1988 fees and costs Order dated April 21, 2015, from United
States District Judge David S. Doty in the matter of Fancher v. Klann, Civ. No. 13-
435 (DSD/JJK). Fancher was a Section 1983 excessive-force and civil-rights action

resulting in a verdict for the plaintiff of $2,640 in compensatory damages and
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$25,000 in punitive damages. Judge Doty awarded GB $237,104.86 for reasonable
attorneys’ fees in the Fancher case, approving hourly rates of $650 for me and
$400 for a younger partner.

12.  Inearly 2019, United States District Judge Nancy Brasel approved a
fee award in another case handled by the GB civil-rights team, Huber v. Sobiech,
Civ. No. 18-2317 (NEB/LIB). Judge Brasel approved an award of attorneys’ fees
of $710,000 in the Huber case; GB’s civil-rights attorneys charged hourly rates in
Huber of between $500 and $700 per hour.

13. More recently, Your Honor approved distribution of settlement
proceeds in Lynas v. Stang, Civ. No. 18-2301 RT/KMM), an Eighth Amendment
jail-suicide case. Lynas settled for $2,300,000, of which Your Honor approved
attorneys’ fees and costs in the amount of $1,112,604.69, with $1,035,000 of that
total constituting attorney fees. My rate for work on the Lynas matter was $775
per hour, which is my current hourly rate.

14. ‘The other attorneys comprising the Robins Kaplan civil-rights team
have hourly rates of $660 and $620, respectively, for partners Andrew J. Noel and
Kathryn H. Bennett, and $520 for counsel Marc E. Betinsky.

15. I believe all of these hourly rates are reasonable and appropriate and

are consistent with the market for civil-rights work in Minnesota.
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16. lam very familiar with Plaintiff's counsel, ACLU attorney Ian
Bratile, and his work in civil-rights litigation. I worked extensively on a case
prosecuted by the ACLU and Robins Kaplan jointly and have a good
understanding of Mr. Bratile’s education and experience in such matters.

17. Mr. Bratile’s intellect and work product are very good, and I hold in
high esteem persons like him with long-standing motivations and dedication
towards helping those who could not otherwise assert their civil rights in court.
Based on my knowledge and experience, I believe the $420 hourly rate he has
requested is not only reasonable and clearly due him but, in reality, is a bargain
under the circumstances.

18. Ihave also reviewed Mr. Bratile’s time entries for work performed
on this case and believe they are reasonable and appropriate given the duration,
history, and complexity of the matter.

19. This action was litigated over nearly three years and included an
interlocutory appeal to the Eighth Circuit following Plaintiff's successful
summary judgment motion, in addition to several earlier motions. As the
number of entries on the docket reflects, the case was complicated and
ageressively litigated by the defendants. The matter ultimately culminated in a

four-day jury trial before Your Honor. It is my opinion that the number of hours
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expended on the matter by Mr. Bratile are fair and reasonable given the depth

and breadth of the task assumed by him.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
foregoing is true and correct. Executed on the A%4_ day of March, 2021.

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Robert Bennett

